           Case 2:06-cr-00038-RSM        Document 14        Filed 03/01/06   Page 1 of 2



 1                                                                JUDGE RICARDO S. MARTINEZ
 2

 3

 4

 5

 6

 7
                                 UNITED STATES DISTRICT COURT
 8                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 9

10   UNITED STATES OF AMERICA,                     )       NO. CR06-0038RSM
                                                   )
11                 Plaintiff,                      )       ORDER ON STIPULATED MOTION TO
                                                   )       CONTINUE TRIAL DATE AND
12                 vs.                             )       PRETRIAL MOTIONS DEADLINE
                                                   )
13   MATTHEW DEHAGI,                               )
                                                   )
14                 Defendant.                      )
                                                   )
15                                                 )
16

17
            THE COURT having considered the stipulation of the parties, the records and files
18
     herein, the Court hereby makes the following findings:
19
            1.     The Court finds that a failure to grant the continuance would deny counsel the
20
     reasonable time necessary for effective preparation, taking into account the exercise of due
21
     diligence, within the meaning of 18 U.S.C. § 3161(h)(8)(B)(ii).
22
            2.     The Court further finds that the ends of justice will be served by ordering a
23
     continuance in this case, that a continuance is necessary to insure effective trial preparation
24
     and that these factors outweigh the best interests of the public in a more speedy trial, within
25
     the meaning of 18 U.S.C. § 3161(h)(8)(A).
26

     (PROPOSED) ORDER ON STIPULATED MOTION                                   FEDERAL PUBLIC DEFENDER
                                                                                   1601 Fifth Avenue, Suite 700
     TO CONTINUE TRIAL DATE AND PTM DEADLINE
                                                                                    Seattle, Washington 98101
     (Matthew Dehagi; CR06-0038RSM)                    1                                        (206) 553-1100
             Case 2:06-cr-00038-RSM     Document 14      Filed 03/01/06   Page 2 of 2



 1           IT IS THEREFORE ORDERED that the trial date in this matter is continued to May 8,
 2    2006.
 3           IT IS FURTHER ORDERED the period of time from the current trial date of April 10,
 4   2006, up to and including the new trial date of May 8, 2006, shall be excludable time pursuant
 5   to the Speedy Trial Act, 18 U.S.C. § 3161 et seq.
 6           IT IS FURTHER ORDERED that pretrial motions are due no later than March 31,
 7   2006.
 8           DONE this 1st day of March, 2006.


                                                       A
 9

10
                                                       RICARDO S. MARTINEZ
11                                                     UNITED STATES DISTRICT JUDGE
     Presented by:
12

13
   s/ Jennifer E. Wellman
14 WSBA # 29193
   Attorney for Matthew Dehagi
15 Federal Public Defender’s Office
   1601 Fifth Avenue, Suite 700
16 Seattle, WA 98101
   (206) 553-1100
17 Fax No.: (206) 553-0120
   Jennifer_Wellman@fd.org
18

19
   s/ Lisca Borichewski
20 Assistant United States Attorney
   Telephonic Approval
21

22

23

24

25

26

     (PROPOSED) ORDER ON STIPULATED MOTION                                FEDERAL PUBLIC DEFENDER
                                                                                1601 Fifth Avenue, Suite 700
     TO CONTINUE TRIAL DATE AND PTM DEADLINE
                                                                                 Seattle, Washington 98101
     (Matthew Dehagi; CR06-0038RSM)                2                                         (206) 553-1100
